                         N THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

  UNITED STATES OF AMERICA )
                           )
  V.                       )                    CASE NO. 4:18CR00011-01
                           )
  MARCUS JAY DAVIS         )

                                               MOTION

         COMES NOW Marcus Jay Davis, by and through his counsel, and moves this Honorable

  Court to direct the presiding judge designated by the Supreme Court of Virginia under Virginia

  Code Section 19.2-215.3 and The Honorable Gerald A. Gibson, Clerk of the Circuit Court for the

  City of Danville, Virginia, to make available for inspection by all counsel in the above styled

  case the notes, tapes, and transcripts or other evidence “kept safely” in the Circuit Court Clerk’s

  office pursuant to Virginia Code Section 19.2-215.9, and for his grounds states as follows.

         (1)     According to discovery produced in this case, a multi-jurisdictional grand jury

  was impaneled in or about December of 2015 at the request of the Commonwealth’s Attorney for

  the City of Danville, to investigate shootings in the City of Danville and other jurisdiction(s).

         (2)     According to the United States, many witnesses were summonsed to this multi-

  jurisdictional grand jury and all testimony was recorded. However, not all testimony was

  transcribed. It is believed based on the transcripts made available to the Defendants, that many of

  these witnesses gave testimony that touches on and concerns the allegations contained in the first

  superseding indictment in the above-styled case.

         (3)     Furthermore, on reasonable belief there were witnesses summonsed to appear at

  the multi-jurisdictional grand jury who were not presented to the multi-jurisdictional grand jury

  but who were interviewed by law enforcement officers. It is believed these interviews were not




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  transcribed but were documented by either notes or audio and/or video by City of Danville law

  enforcement officers.

         (4)     On reasonable belief, based on the discovery previously provided, many of these

  witnesses’ interviews will be material and relevant to the defense of this case, or will lead to the

  discovery of material and relevant evidence to the defense of this case, including exculpatory

  evidence to the defendants and/or evidence that will support their individual theories of defense.

         (5)     Virginia Code Section 19.2-215.9(B) allows for the relief sought by Mr. Davis

  when it is consistent with the ends of justice and is necessary to reasonable inform Mr. Davis of

  the nature of the evidence to be presented against him or to adequately prepare his defense. Mr.

  Davis submits that he has met this standard and is entitled to the relief sought.

         THEREFORE, Marcus Jay Davis moves for an order of the Court to direct the presiding

  judge designated by the Supreme Court of Virginia under Section 19.2-215.3 of the Code of

  Virginia, 1950, as amended, and The Honorable Gerald A. Gibson, Clerk of the Circuit Court for

  the City of Danville, Virginia, to make available for inspection by counsel in this case the notes,

  tapes, and transcripts or other evidence to all counsel in the above-styled case, which was to have

  been kept safely in the Circuit Court Clerk’s office pursuant to Virginia Code Section 19.2-

  215.9(B).

                                                                Respectfully submitted,
                                                                Marcus Jay Davis

                                                                By: s/Anthony F. Anderson
                                                                   Counsel for Defendant

                                                                By: s/Beverly M. Davis
                                                                    Counsel for Defendant




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                                     CERTIFICATE OF SERVICE

             I hereby certify that this 18th day of October, 2019, I emailed this Motion to the following
  Attorneys for the United States and it was filed electronically with the Court.

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